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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF WYOMING

CARLIE SHERMAN, ANNA GOZUN,
AMANDA NASH, and JOHN DOE on behalf
of themselves and all similarly situated
persons,

Plaintiffs,

VS. Civil Action No. 20-CV-215-S
TRINITY TEEN SOLUTIONS, INC., a
Wyoming corporation; TRIANGLE CROSS
RANCH, LLC, a Wyoming limited liability
corporation; MONKS OF THE MOST
BLESSED VIRGIN MARY OF MOUNT
CARMEL, d/b/a MYSTIC MONK COFFEE,

a Wyoming corporation; GERALD E.
SCHNEIDER; MICHAELEEN P. SCHNEIDER;
ANGELA C. WOODWARD; JERRY D.
WOODWARD; DANIEL SCHNEIDER;
MATHEW SCHNEIDER; MARK SCHNEIDER
KARA WOODWARD; KYLE WOODWARD
THOMAS GEORGE; JUDITH D. JEFFERIS;
DALLY-UP, LLC, a Wyoming limited liability
corporation; ROCK CREEK RANCH, INC.

A Delaware corporation, DIOCESE OF
CHEYENNE, a Wyoming corporation; and the
SOCIETY OF OUR LADY OF THE MOST
HOLY TRINITY, a Texas corporation; and
NEW MOUNT CARMEL FOUNDATION, INC.,
a Wyoming corporation,

meee ee ee “eel” “ee” ee nee” “ee” “ee” “meee” “mee ee “el” “eee” ae “em “oe” Sener” “nae Mma ae” ee” “nee Mama” Nae “ee” “mu em ema” “eee” “ee” “ae

Defendants.

DEFENDANTS JUDITH D. JEFFERIS AND ROCK CREEK RANCH INC.’S REPLY TO
PLAINTIFF’S RESPONSE TO MOTION TO DISMISS FIRST AMENDED COMPLAINT

COME NOW Defendants Judith D. Jefferis and Rock Creek Ranch, Inc. (hereinafter

~~ “Defendaiits’), through their attorneys Buchhammer & Ward, P.C., and for their Reply to -

 
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‘Plaintiff's Response to Defendant’s Motion to Dismiss First Amended Complaint show the
Court as follows:
I. PLAINTIFF’S AMENDED COMPLAINT SHOULD BE DISMISSED AS THE
“SHOTGUN” OR “KITCHEN SINK” ALLEGATIONS FAIL TO MEET THE
PLEADING STANDARD OF ASHCROFT V. IQBAL

The United States Supreme Court set forth the pleading standards for complaints
in Federal Courts in Ashcroft v. Iqbal. “A complaint must contain sufficient factual matter,
accepted as true, to ‘state a claim to relief that is plausible on its face” in order to survive
a motion to dismiss under Fed. R. Civ. P. 12(b)(8). Ashcroft v. qgbal, 556 U.S. 662, 677-78
(2009) (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007)). Additionally, the
United States Supreme Court in /qbal explained that formulaic recitations and conclusory
statements are not sufficient to survive a motion to dismiss:

[T]he pleading standard Rule 8 announces does not require “detailed factual

allegations,” but itt demands more than an_ unadorned,

the-defendant-unlawfully harmed-me accusation. A pleading that offers

“labels and conclusions’ or “a formulaic recitation of the elements of a cause

of action will not do.” Nor does a complaint suffice if it tenders “naked

assertion[s]’ devoid of “further factual enhancement.”

556 U.S. at 678 (citations omitted) (second alteration in original).

In this case the Plaintiffs filed a 73-page, 204-paragraph, 39-footnote Amended
Complaint against 19 named defendants with factual allegations ranging from 1973, (Am.
Compl., dkt. 106, at {] 3), through at least November 2019. (Id. at § 90). In these 73 pages
and 204 paragraphs of allegations, the only allegations against Defendants Judith Jefferis

_{Jefferis) and Rock Creek Ranch, Inc. (RCR) are that Jefferis is the owner/operator of
RCR, which is adjacent to Trinity Teen Solutions, Inc. (Trinity), that prior to 2010 Trinity
leased property from RCR and eventually purchased that property, that the sales
agreement for the property included an agreement to provide labor for RCR and that
Piaintiffs were not paid for thei labor. (Id at If] 43, 45, 55 and 56). |

_ Intheir Resporise to the Motion to Dismiss the Amended Compiaint, Plaintiffs argue

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that Defendants knew or should have known that labor was being forced or coerced out
of children because “any reasonable corporation that is receiving the benefit of substantial
amounts of volunteer labor from a facility that {i]s purportedly housing troubled teens from
urban areas would (1) closely supervise and observe said minor and (2) be suspicious of
the source and true cost for that labor.” (Response, dkt. 140, at p. 13) (Emphasis added).

The problem with Plaintiff's argument is that the Amended Complaint does not allege that

|”

a “substantial” amount of volunteer labor was provided. Plaintiffs are asking this Court to

circumvent the pleading requirements and infer factual allegations in Plaintiffs Amended
Complaint that do not appear in the text of the Pleading. Under /qbai, Plaintiffs are
required to plead sufficient factual information to allow the Court to determine whether or
not volunteer labor was “substantial.” In this case Plaintiffs failed to plead facts that meet
the standard and now ask the Court to read facts into the Amended Complaint that are not
there, and as such Plaintiff's Amended Complaint should be dismissed.

In Gurman v. Metro Housing & Redevelopment Authority, the United States District
Court for the District of Minnesota explained that the burden “kitchen-sink” or “shotgun”
complaints place on courts and defendants:

This Court has repeatedly criticized the filing of “kitchen-sink” or
“shotgun” complaints—complaints in which a plaintiff brings every
conceivable claim against every conceivable defendant. Complaints like the
one in this case unfairly burden defendants and courts. The plaintiff who files
a kitchen-sink complaint shifts onto the defendant and the court the burden
of identifying the plaintiffs genuine claims and determining which of those
claims might have legal support. In this case, for example, plaintiffs have
essentially coughed up an unsightly hairball of factual and legal allegations,
stepped to the side, and invited the defendants and the Court to pick through
the mess and determine if plaintiffs may have pleaded a viable claim or two.

This is emphatically not the job of either a defendant or the Court. It
is the plaintiffs’ burden, under both Rule 8 and Rule 11, to reasonably
investigate their claims, to research the relevant law, to plead only viable
claims, and to plead those claims concisely and clearly, so that a defendant
can readily. respond to them, and a ‘court can readily resolve them.

842 F. Supp. 2d 1154, 1153 (0. Mien, 201 4) (footnote omitted) (citation omitted), quoted.

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in part in Harnngton v. Strong, 363 F. Supp. 3d 984, 993 n.5 (D. Neb. 2019), and in DJ.
Young Publ'g Co. ex rel. Young v. Unified Gov't of Wyandotte Cnty./Kansas City, Kan., No.
12-CV-2011-KHV, 2012 WL 4211669, at *3 (D. Kan. Sep. 18, 2012) (unpublished opinion).
See also Pachta v. Judd, No. 19-cv-0030 RB-GJF, 2020 WL 4201844, at *2 (D.N.M. Jul.
22, 2020) (unpublished opinion) (rejecting “kitchen-sink” or “shotgun” filing as unfairly
burdening the defendants in the case).

The District of Colorado has also criticized and observed the following with respect
to “illegally pleaded shotgun claims’:

Pleading the claims in such a fashion has wrongfully placed “an inordinate

burden on the party responding to that pleading, and on the Court

interpreting it, requiring them to parse the narrative repeatedly and attempt

to independently extract the particular factual averments that are relevant to

each individual claim’. . . .

Greenway Nutrients, Inc. v. Blackburn, 33 F. Supp. 3d 1224 (D. Colo. 2014) (quoting
Jacobs v. Credit Suisse First Boston, No. 11-cv-00042-CMA-KLM, 2011 WL 4537007, at
*6 (D. Colo. Sep. 30, 2011) (unpublished opinion)).

In this case Plaintiffs are asking this Court and the Defendants to sift through their
myriad of conclusory allegations and decipher where the viable claims against Defendants
are. Such method of pleading is improper and Plaintiffs Amended Complaint should be
dismissed.

ll. PLAINTIFFS HAVE FAILED TO ESTABLISH A VIABLE CLAIM THAT

DEFENDANTS JEFFERIS OR RCR PARTICIPATED IN A VENTURE
UNDER 18 U.S.C. § 1595(A)

The Amended Complaint fails to set forth sufficient factual matters to make a viable

claim under the /gba/ standard that Defendants Jefferis or RCR formed a “venture” or had

“participation in a venture” as required under 18 U.S.C. .§ 1595(A). The Tenth Circuit has

defined a “venture” under 18 U.S.C. § 1589(b) as: vany group of two or more individuals

 

 

associated in fact, whether or fot a egal entity?” Bistine v. Parker, 918 F.3d 849, 873

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(10th Cir. 2019) (quoting 18 U.S.C. § 1591(e)(6)). Given the Tenth Circuit's adoption of the
definition of venture under Section 1591(e)(6) for purposes of Section 1589(b), the Tenth
Circuit would likely adopt such definition of venture for purposes of Section 1595(a), as well
as the definition of “participation in a venture” in 18 U.S.C. § 1591(e)(4) for purposes of
Section 1595(a), See M.A. v. Wyndham Hotels & Resorts, inc., 425 F. Supp. 3d 959, 963
(S.D. Ohio 2019) (adopting the definition of “participation in a venture” under Section
1591(e)(4) when analyzing a claim under Section 1595(a)). Under Section 1591(e)(4), a
party has had “participation in a venture” by “knowingly assisting, supporting, or facilitating
a violation” of the applicable statutory section.

In discussing whether defendants participated in a venture with a direct perpetrator
of sex trafficking, the United States District Court for the Southern District of New York
observed that allegations of “making hush payments to cover up sex trafficking” were
insufficient for establishing participation under Section 1591(e)(4) and thereby triggering
liability for the defendants in that case. Geiss v. Weinstein Co. Holdings LLC, 383 F. Supp.
3d 156, 168 n.4 (S.D.N.Y. 2019).

In this case, Plaintiffs allegations against Jefferis and RCR are that they knew of the
forced child labor because of an agreement that was part of the land sale transaction from
Jefferis to Defendant Owners. (Am. Compl., dkt. 106, at] 56}. However, once Defendants
Jefferis and RCR established that no such agreement was contained within the sale
documents, Plaintiffs changed their tune and argued that the sales documents were
irrelevant, not central to any of Plaintiff's claims, and should be disregarded. (Response,
dkt. 140, at p. 10).

Plaintiffs Amended Complaint against Jefferis and RCR is a house of cards.
Plaintiffs argue the land sale from Defendant Jefferis to Defendant Owners forms the basis

of Jefferis and RCR’s knowledge to state a claim of joint venfice, but. then ask the Court

 
 

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to disregard and ignore the land sale when the uncontested-#zets' of:the land sale do not

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.-., Jefferis and RCR.

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serve their purpose. Plaintiffs cannot have it both ways and Plaintiffs Amended Complaint

should be dismissed.

Mi. PLAINTIFFS DID NOT SUSTAIN INJURY TO THEIR BUSINESS OR
PROPERTY

Plaintiffs argue that they suffered injury to their business or property from medical
treatment expenses they incurred as well as a lack of compensation for their work.
Response, dkt. 140, p. 17. To begin with, Plaintiffs do not allege that they sustained any
personal injuries or required any medical treatment related to their alleged work provided
to Defendants Jefferis and RCR. Contrary to Plaintiffs' argument, medical expenses that
are the results of persona! injuries are not available remedies under RICO. See Jackson
v. Sedgwick Claims Ilvianagement Sves., inc., 731 F.3d 556, 564-565 (6th Cir. 2013). The
cases cited by Plaintiffs are distinguishable and inapplicable for purposes of this analysis.
For instance, the medical costs in Blevins, a case argued by Plaintiff in their Response, did
not result from personal injuries but rather from unnecessary medical treatments resulting
from the defendant's conduct. See Blevins v. Aksut, 849 F.3d 1016, 1021 (11th Cir. 2017).
Here, Plaintiffs’ alleged medical expenses resulted from physical and emotional injuries
Plaintiffs allegedly sustained from their work at TTS and TCR. See Amended Complaint,
dkt. 106, If] 141-146, 199.

Just as medical expenses resulting from physical or emotional injuries are not
recoverable in a RICO claim, lost wages as a result of personal injuries are not considered
injuries to business or property unless there is some legitimate property interest that was
injured, such as a business contract. See Diaz v. Gates, 420 F.3d 897, 899-00 (9th Cir.
2005). Accordingly, Plaintiffs have not sustained injuries to business or property as

required by RICO and the Amended Complaint should be dismissed as to Defendants

 

‘IV. CONCLUSION

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For the reasons set forth above as well as in Defendants Jefferis and RCR’s Brief

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in Support of their Motion to Dismiss the Amended Complaint, it is clear that Plaintiffs have
failed to allege sufficient facts to establish any plausible cause of action against
Defendants Jefferis or RCR.

DATED this 24* day of May, 2021

Judith D. Jeffris and Rock Creek Ranch, Inc.,
Defendants.

By:

 

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CERTIFICATE OF SERVICE

| hereby certify that a true and correct copy of the foregoing document was served
on all parties per the CM/ECF electronic service of the Court, this aes day of May, 2021.

a De ees Nae
Zenith S. Ward

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